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                                                             CERTIFICATE OF SERVICE


DEBTOR 1 NAME: RACHEL MILLS FOSTER                                                                             CASE NUMBER: 1307038
DEBTOR 2 NAME:
I       Robert J Wallace, Jr.       certify under penalty of perjury that I have served the attached document on the below
listed entities in the manner shown on 2/6/2014        :


Via Certified Mail:

BANK OF AMERICA, N.A.,ATTN: OFFICER,100 N. TRYON STREET,CHARLOTTE NC 28255
THE BANK OF NEW YORK MELLON,ATTN: OFFICER,ONE WALL STREET,NEW YORK NY 10286

Via Electronic Delivery:

JOHN T. ORCUTT,ATTORNEY AT LAW,6616-203 SIX FORKS RD.,RALEIGH NC 27615

Via U.S. First Class Mail, or electronic service, if such interested party is an electronic filing user,
pursuant to Local Rule 5005-4(9)(b):

AMERICAN EXPRESS,CUSTOMER SERVICES,PO BOX 981535,EL PASO TX 79998
ASPIRE RESOURCES, INC.,on behalf of US DEPT. OF EDUCATION,PO BOX 530308,ATLANTA GA 30353-0308
ASPIRE RESOURCES, INC,ON BEHALF OF US DEPT. OF ED.,6775 VISTA DRIVE,WEST DES MOINES IA 50266
BAC HOME LOANS SERVICE,450 AMERICAN ST,SIMI VALLEY CA 93065
BAC HOME LOANS SERVICING LP,ATTN: MANAGING AGENT,PO BOX 15222,WILMINGTON DE 19886
BANK OF AMERICA HOME LOANS,PO BOX 5170,SIMI VALLEY CA 93062
BANK OF AMERICA,ATTN: OFFICER,PO BOX 982235,EL PASO TX 79998-2235
BB&T,PO BOX 580048,CHARLOTTE NC 28258-0048
BRANCH BANKING AND TRUST COMPANY,ATTN: JACK HAYES,BANKRUPTCY SECT./100-70-01-51,PO BOX 1847 WILSON NC 27894-1847
BUCKLEY MADOLE, P.C.,ATTN: OFFICER,PO BOX 829009,DALLAS TX 75382-9009
CAPITAL ONE BANK (USA), NA,ATTN: OFFICER,PO BOX 71083,CHARLOTT NC 28272-1083
CAPITAL ONE,PO BOX 5253,CAROL STREAM IL 60197
CITIMORTGAGE, INC.,ATTN: OFFICER/MANAGING AGENT,PO BOX 688971,DES MOINES IA 50368
CITIMORTGAGE, INC.,ATTN: CUSTOMER RESEARCH,PO BOX 9438,GAITHERSBURG MD 20898
CITIMORTGAGE, INC,ATTN: OFFICER,PO BOX 6030,SIOUX FALLS SD 57117-6030
CREDIT FIRST N.A.,P.O. BOX 818011 (BK-13),CLEVELAND OH 44181-8011
CREDIT FIRST NA,ATTN: MANAGING AGENT,PO BOX 81344,CLEVELAND OH 44188
DELBERT SERVICES CORP,ATTN: MANAGER OR REG. AGENT,7125 POLLOCK DR,LAS VEGAS NV 89119
DISCOVER BANK,DB SERVICING CORPORATION,PO BOX 3025,NEW ALBANY OH 43054
DISCOVER,PO BOX 15316,WILMINGTON DE 19850-5316
ECKERT PATHOLOGY ASSOCIATES,PO BOX 1259,DEPT 12867,OAKS PA 19456
GECRB/BELK,ATTN: MANAGING AGENT,PO BOX 981491,EL PASO TX 79998
GECRB/BELK,PO BOX 103104,ROSWELL GA 30076
GECRB/JCP,PO BOX 965008,ORLANDO FL 32896
GECRB/JCP,PO BOX 981402,EL PASO TX 79998
GECRB/SAMS,ATTN: MNG AGT,PO BOX 95005,ORLANDO FL 32896-5005
GECRB/WALMART,ATTN: MANAGING AGENT,PO BOX 965024,ORLANDO FL 32896
GEMB/SAMS CLUB DC,PO BOX 981400,EL PASO TX 79998
GEMB/WAL-MART,ATTN: MANAGING AGENT,PO BOX 981400,EL PASO TX 79998
INTERNAL REVENUE SERVICE,ATTN: CORRESPONDENCE,PO BOX 7346,PHILADELPHIA PA 19101-7346
INTERNAL REVENUE SERVICE,ATTN: MANAGER OR REG. AGENT,PO BOX 7317,PHILADELPHIA PA 19101-7317
NASH COUNTY TAX COLLECTOR,ATTN: MANAGER,120 W. WASHINGTON ST., STE. 2058,NASHVILLE NC 27856


By Electronic Transmittal :
By Fax :

I certify that I have prepared the Certificate of Service and that it is a true and correct copy to the best of my knowledge, information
and belief.

Date :         2/6/2014                                 Signature : ________________________________________
                                                                                 Premium Graphics, Inc.
                                                                                 2099 Thomas Road Suite 10
                                                                                 Memphis, TN 38134
JL1307038_MMCP
          Case 13-07038-8-SWH                 Doc 11 Filed 02/07/14 Entered 02/07/14 13:25:29                            Page 10 of
                                                               10
                                               CERTIFICATE OF SERVICE
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DEBTOR 1 NAME: RACHEL MILLS FOSTER                                                                          CASE NUMBER: 1307038
DEBTOR 2 NAME:
I       Robert J Wallace, Jr.       certify under penalty of perjury that I have served the attached document on the below
listed entities in the manner shown on 2/6/2014        :

NASH GENERAL HOSPITAL,ATTN: BUSINESS OFFICE,2460 CURTIS ELLIS DR,ROCKY MOUNT NC 27804
NASH HOSPITALS, INC.,PO BOX 75294,CHARLOTTE NC 28275
QVC,PO BOX 981462,EL PASO TX 79998
QVC,c/o GE MONEY BANK - BK DEPARTMENT,POST OFFICE BOX 103104,ROSWELL GA 30076
RACHEL MILLS FOSTER,711 BREEDLOVE ROAD,NASHVILLE NC 27856
SANTANDER CONSUMER USA, INC.,ATTN: MANAGER OR REG. AGENT,PO BOX 560284,DALLAS TX 75356-0284
SANTANDER CONSUMER USA,ATTN: MANAGING AGENT,PO BOX 961245,FT WORTH TX 76161
SANTANDER CONSUMER USA,MANAGING AGENT,8585 N. STEMMONS FWY, SUITE 1100,DALLAS TX 75247
SPRINGLEAF FINANCIAL SERVICES OF AMERICA, INC.,ATTN: OFFICER,PO BOX 3251,EVANSVILLE IN 47731
SPRINGLEAF FINANCIAL,1487 BENVENUE ROAD,UNITE AZ-03,ROCKY MOUNT NC 27804
SPRINGLEAF FINANCIAL,PO BOX 112,ROCKY MOUNT NC 27802
THE BANK OF NEW YORK MELLON,CALIBER HOME LOANS,ATTN: OFFICER,13801 WIRELESS WAY OKLAHOMA CITY OK 73134
THE BANK OF NEW YORK MELLON,CALIBER HOME LOANS,ATTN: OFFICER,P.O. BOX 24330 OKLAHOMA CITY OK 73124
THE HONORABLE ERIC HOLDER,US DEPT OF JUSTICE,950 PENNSYLVANIA AVE NW,WASHINGTON DC 20530
TOWN OF NASHVILLE,PO BOX 987,NASHVILLE NC 27856
US ATTORNEY'S OFFICE,C/O IRS,310 NEW BERN AVE., STE. 800, FEDERAL BLDG,RALEIGH NC 27601-1461
VERICREST FINANCIAL, INC.,PO BOX 24610,OKLAHOMA CITY OK 73124
WELLS FARGO BANK, N.A.,ATTN: OFFICER,PO BOX 10438,DES MOINES IA 50306
WELLS FARGO BANK, N.A.,ATTN: OFFICER,PO BOX 660041,DALLAS TX 75266-0041
WELLS FARGO FINANCIAL,PO BOX 660041,DALLAS TX 75266
WILLIE SPIVEY,432 MERCER ST,ROCKY MOUNT NC 27801




By Electronic Transmittal :
By Fax :

I certify that I have prepared the Certificate of Service and that it is a true and correct copy to the best of my knowledge, information
and belief.

Date :     2/6/2014                        Signature : ________________________________________
                                                                    Premium Graphics, Inc.
                                                                    2099 Thomas Road Suite 10
                                                                    Memphis, TN 38134
